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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

 GERALD ROSS PIZZUTO, JR.,             )      CASE NO. 1:21-cv-00359-BLW
                                       )
           Plaintiff,                  )      EIGHTH STIPULATION TO
 v.                                    )      MODIFY SCHEDULING ORDER
                                       )      DEADLINES
 JOSH TEWALT, et al.,                  )
                                       )
           Defendants.                 )
 _____________________________________ )




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       Through undersigned counsel, and pursuant to Federal Rule of Civil Procedure 16(b)(4),

the parties hereby stipulate to modify the deadlines set forth in the Court’s most recent scheduling

order for the reasons summarized below. See Dkt. 103.

       The parties are actively engaged in ongoing discovery, and several requests have not yet

been responded to. Certain discovery disputes exist that require mediation and litigation, a process

that has begun, see Dkts. 102, 104, 105, and which the parties expect to continue.

       The parties specifically stipulate that the modifications requested herein are appropriate

given the present status of Plaintiff’s execution, including the stay of execution the Court entered

in a separate case—Pizzuto v. Richardson, Case No. 1:22-cv-452—on March 9, 2023. The parties

specifically stipulate and agree the Court should find good cause for the modification in this case

in light of ongoing discovery and discovery-related disputes.

       The parties acknowledge that Plaintiff has, as the Court directed during the informal

discovery dispute conference held April 3, 2023, submitted a list of questions to Defendants

relating to the chemicals to be used at Mr. Pizzuto’s execution in an attempt to resolve outstanding

discovery disputes related to the Idaho executions conducted in 2011 and 2012. See Dkt. 85-1 at

4–5. Defendants responded to Plaintiff’s questions on October 23, 2023. The parties intend to

continue to engage in good faith efforts to resolve this issue. The parties specifically agree that if

the parties are unable to informally resolve this issue, Plaintiff may file a motion to compel, and

Defendants reserve the right to defend against any such motion. The parties specifically agree to

not raise any adverse implication related to any delay associated with the parties’ efforts to

informally resolve this outstanding issue. The parties agree that, if Plaintiff is successful on his

motion, Plaintiff will be entitled to seek limited discovery as ordered by the Court or agreed to by

the parties. The parties agree that if the Court issues its ruling on such a motion near in time to, or

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after, the date proposed below for the close of factual discovery, Plaintiff may conduct any or all

of his depositions within forty-five (45) days after the date of the Court’s ruling, or as otherwise

agreed to by the parties or as ordered by the Court.

       By way of this stipulation, the parties agree that each party retains and preserves any right

or remedy available to it under the Federal Rules of Civil Procedure. The parties agree that any

delays related to the parties’ attempts to informally resolve discovery disputes will not be used as

evidence to argue against either party’s diligence in conducting discovery related to the disputed

issues, limit either party’s right to move the Court for relief as appropriate, or to prejudice either

party in any way. Further, the parties acknowledge that the requested modification of the

scheduling order may give rise to certain inferences regarding the parties’ respective approach to

this litigation. Defendants do not concede or agree to any adverse implication arising from their

stipulation to the modifications. Furthermore, by entry of this stipulation, Defendants do not make

any representation or concession regarding the possible reissuance of a death warrant in State v.

Pizzuto, Idaho County Case No. CR-1985-22075, or the Department’s ability to carry out an

execution.   Defendants retain all defenses and arguments related to their transparency and

diligence in the defense of this case. Plaintiff does not concede or agree to any adverse implication

arising from the requested scheduling modification. Additionally, Plaintiff retains all defenses and

arguments related to his diligence in the prosecution of this case. And Plaintiff reserves the right

to seek expedited discovery and whatever other measures become necessary if a new death warrant

is signed.

       Therefore, based on the foregoing, the parties respectfully request that the Court enter an

order modifying the discovery and dispositive motion deadlines by extending each date by thirty

days as follows:

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       •    Cut-off for factual discovery and deadline for Plaintiff’s expert disclosures: February

            12, 2024. See Dkt. 103.

       •    Deadline for Defendants’ expert disclosures: February 21, 2024. See id.

       •    Deadline for Plaintiff’s disclosure of rebuttal experts: March 8, 2024. See id.

       •    Cut-off for all expert discovery: March 22, 2024. See id.

       •    Dispositive motion deadline: April 17, 2024. See id.

       DATED this 12th day of December 2024.


/s/ Kristina M. Schindele                             /s/ Jonah J. Horwitz
Kristina M. Schindele                                 Jonah J. Horwitz
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